Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF KANSAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Texaz Table Restaurant of KS, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Urban Table
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8232 Mission Rd
                                  Prairie Village, KS 66208
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Johnson                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       urbantablekc.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201
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                                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
Debtor    Texaz Table Restaurant of KS, LLC                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                  Relationship
                                                 District                                 When                              Case number, if known




Official Form 201
                                       Case 19-22399 Doc# 1 Filed 11/09/19 Page 2 of 67
                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 2
Debtor   Texaz Table Restaurant of KS, LLC                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201
                                    Case 19-22399 Doc# 1 Filed 11/09/19 Page 3 of 67
                                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 3
Debtor    Texaz Table Restaurant of KS, LLC                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 9, 2019
                                                  MM / DD / YYYY


                             X   /s/ Alan L. Gaylin                                                       Alan L. Gaylin
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO/Founder




18. Signature of attorney    X   /s/ Sharon L. Stolte                                                      Date November 9, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Sharon L. Stolte #14302
                                 Printed name

                                 Sandberg Phoenix & von Gontard PC
                                 Firm name

                                 4600 Madison Ave., Suite 1000
                                 Kansas City, MO 64112
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     816-627-5543                  Email address      sstolte@sandbergphoenix.com

                                 #14302 KS
                                 Bar number and State




Official Form 201
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                                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 4
Debtor     Texaz Table Restaurant of KS, LLC                                        Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF KANSAS

Case number (if known)                                           Chapter     11
                                                                                                                 Check if this an
                                                                                                                 amended filing




                                                    FORM 201. VOLUNTARY PETITION

                                                  Pending Bankruptcy Cases Attachment



Debtor     Bread & Butter Concepts, LLC                                    Relationship to you               Parent
District   Kansas                                  When                    Case number, if known
Debtor     Texaz Crossroads, LLC                                           Relationship to you               Affiliate
District   Kansas                                  When                    Case number, if known
Debtor     Texaz Plaza Restaurant, LLC                                     Relationship to you               Affiliate
District   Kansas                                  When                    Case number, if known
Debtor     Texaz South Plaza, LLC                                          Relationship to you               Affiliate
District   Kansas                                  When                    Case number, if known




Official Form 201
                                     Case 19-22399 Doc# 1 Filed 11/09/19 Page 5 of 67
                                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 5
Case 19-22399   Doc# 1   Filed 11/09/19   Page 6 of 67
 Fill in this information to identify the case:
 Debtor name Texaz Table Restaurant of KS, LLC
 United States Bankruptcy Court for the: DISTRICT OF KANSAS                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bread & Butter                                                  Inter Company                                                                                          $762,478.00
 Concepts
 1729 Cherry Street
 Kansas City, MO
 64108
 Core Bank                                                       FF&E and               Contingent               $1,452,357.18                $145,666.43             $1,306,690.75
 12100 W Center Rd                                               Depository             Unliquidated
 Omaha, NE 68144                                                 Accounts
 CSI                                                             R&M                    Unliquidated                                                                      $10,080.31
 18330 Edison Ave
 Chesterfield, MO
 63005
 ECOLAB PEST                                                     Pest Control           Unliquidated                                                                        $1,012.00
 26252 Network Pl
 Chicago, IL
 60673-1262
 ESPRESSO TECH                                                   R&M                    Unliquidated                                                                        $1,397.08
 11614 W 90TH
 STREET
 OVERLAND PARK,
 KS 66214
 Evergy                                                          Electricity            Contingent                                                                          $1,124.84
 4400 E. Front St                                                                       Unliquidated
 Kansas City, MO
 64120
 EXCEL LINENS                                                    Linen supply           Unliquidated                                                                      $14,313.31
 501 Funston St
 Kansas City, MO
 66115
 FARM TO MARKET                                                                         Unliquidated                                                                        $6,839.79
 100 East 20th St
 Kansas City, MO
 64108
 IBS MIDWEST                                                     Tech Support           Unliquidated                                                                        $2,207.11
 3913 S LYNN CT
 INDEPENDENCE,
 MO 64055


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                             Case 19-22399                 Doc# 1         Filed 11/09/19                Page 7 of 67
 Debtor    Texaz Table Restaurant of KS, LLC                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 KALDI'S COFFEE                                                  Inventory              Unliquidated                                                                        $2,403.96
 3983 Gratiot
 ST. LOUIS, MO
 63110
 KANSAS                                                          LIQUOR SALES           Unliquidated                                                                        $3,141.00
 DEPARTMENT OF                                                   TAX
 REVENUE
 PO BOX 758572
 TOPEKA, KS 66675
 KANSAS                                                          FOOD SALES TAX Unliquidated                                                                                $9,385.00
 DEPARTMENT OF
 REVENUE
 PO BOX 758572
 TOPEKA, KS 66675
 LIBERTY FRUIT                                                                          Unliquidated                                                                        $6,514.00
 1247 Argentine
 Boulevard
 Kansas City, KS
 66105-1508
 P1 GROUP INC.                                                   R&M                    Unliquidated                                                                        $4,364.73
 13605 W 96th
 Terrace
 LENEXA, KS 66215
 S. Glynn Roberts                                                Member Loan                                                                                            $514,543.00
 1804 Wroxton
 Houston, TX 77005
 SEATTLE FISH CO.                                                Inventory              Unliquidated                                                                        $9,632.69
 4300 N. Mattox Rd
 Riverside, MO 64150
 SYSCO KANSAS                                                    Inventory              Unliquidated                                                                        $6,576.97
 CITY INC
 1915 KANSAS CITY
 ROAD
 PO BOX 820
 OLATHE, KS
 66061-0820
 Texaz Plaza                                                                                                                                                              $52,457.00
 Restaurant, LLC
 600 Ward Parkway
 Kansas City, MO
 64112
 Texaz South Plaza,                                                                                                                                                       $41,945.00
 LLC
 4800 Main Street
 Kansas City, MO
 64112
 US FOODS                                                        Inventory              Contingent                                                                        $26,663.56
 16805 COLLEGE                                                                          Unliquidated
 BLVD
 LENEXA, MO 66219




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                             Case 19-22399                Doc# 1          Filed 11/09/19                Page 8 of 67
 Fill in this information to identify the case:

 Debtor name         Texaz Table Restaurant of KS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $2,000.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                                                                            Operating Checking
           3.1.     Core Bank                                               Account                         9759                                    $13,624.39



                                                                            Payroll Checking
           3.2.     Core Bank                                               Account                         9770                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $15,624.39
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Building security deposit with GRI Corinth North, LLC                                                                           $11,506.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                        Case 19-22399                Doc# 1       Filed 11/09/19       Page 9 of 67
 Debtor         Texaz Table Restaurant of KS, LLC                                                Case number (If known)
                Name



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                           $11,506.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Food Inventory                             10/31/2019                         $17,928.00                                       $17,928.00


           Liquor Beer Wine                           10/31/2019                           $6,478.00                                        $6,478.00



 23.       Total of Part 5.                                                                                                           $24,406.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                                       Case 19-22399                   Doc# 1       Filed 11/09/19        Page 10 of 67
 Debtor         Texaz Table Restaurant of KS, LLC                                             Case number (If known)
                Name


        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Restaurant Food Service FF&E (see attached)                                     $8.43    2017 Appraisal a                  $66,190.00



 51.        Total of Part 8.                                                                                                       $66,190.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Texaz Table Restaurant of KS, LLC                                             Case number (If known)
                Name

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.       Notes receivable
           Description (include name of obligor)
                                                                              19,904.00 -                                  0.00 =
           Due from Texaz Crossroads, LLC                             Total face amount     doubtful or uncollectible amount                  $19,904.00



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                                $19,904.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 4
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                                       Case 19-22399                 Doc# 1       Filed 11/09/19         Page 12 of 67
 Debtor          Texaz Table Restaurant of KS, LLC                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                      Current value of real
                                                                                                     personal property                     property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $15,624.39

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $11,506.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $24,406.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $66,190.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                  $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $19,904.00

 91. Total. Add lines 80 through 90 for each column                                                            $137,630.39             + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $137,630.39




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 5
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                                          Case 19-22399                       Doc# 1             Filed 11/09/19                      Page 13 of 67
Case 19-22399   Doc# 1   Filed 11/09/19   Page 14 of 67
Case 19-22399   Doc# 1   Filed 11/09/19   Page 15 of 67
 Fill in this information to identify the case:

 Debtor name          Texaz Table Restaurant of KS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                    Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
 2.1    Core Bank                                     Describe debtor's property that is subject to a lien                   $1,452,357.18               $145,666.43
        Creditor's Name                               FF&E and Depository Accounts
        12100 W Center Rd
        Omaha, NE 68144
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                        Disputed




                                                                                                                              $1,452,357.1
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        8

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Small Business Administration
         220 West Douglas Ave                                                                                   Line   2.1
         Ste. 450
         Wichita, KS 67202




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 1
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                                             Case 19-22399              Doc# 1          Filed 11/09/19              Page 16 of 67
 Fill in this information to identify the case:

 Debtor name         Texaz Table Restaurant of KS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $0.00      $0.00
           AKE, ALFONSO                                              Check all that apply.
           4705 GLADSTONE BLVD                                          Contingent
           KANSAS CITY, MO 64123                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           10/16-10/31/19
           Last 4 digits of account number 0983                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $0.00      $0.00
           BAUER, BRADLEY                                            Check all that apply.
           15508 WHITE DRIVE                                            Contingent
           BELTON, MO 64012                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           10/16-10/31/19
           Last 4 digits of account number 2497                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 21
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 Debtor       Texaz Table Restaurant of KS, LLC                                                               Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          BENITEZ, GUADALUPE                                         Check all that apply.
          7 Pasadena Dr                                                 Contingent
          Olathe, KS 66061                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0914                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          BERNING, MEGAN AMANDA                                      Check all that apply.
          9231 OUTLOOK DRIVE                                            Contingent
          OVERLAND PARK, KS 66207                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2446                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          BIRNBAUM, SIDELLE                                          Check all that apply.
          2708 HOLMES ST APT 2N                                         Contingent
          KANSAS CITY, MO 64109                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2082                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          BONILLA, RUDY                                              Check all that apply.
          5409 ANTIOCH RD. APT 5                                        Contingent
          KANSAS CITY, KS 66202                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 1003                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 21
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 Debtor       Texaz Table Restaurant of KS, LLC                                                               Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          CHAVEZ, JUAN                                               Check all that apply.
          2207 ELIZABETH AVE                                            Contingent
          KANSAS CITY, KS 66102                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0706                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          CHIVERTON, JOHN PAUL                                       Check all that apply.
          3007 WEST 82ND TERRACE                                        Contingent
          LEAWOOD, KS 66206                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2369                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          COATES, HEIDI                                              Check all that apply.
          6443 W. 51ST TERRACE                                          Contingent
          MISSION, KS 66202                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0740                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          CORTEZ, JULIAN                                             Check all that apply.
          9540 HALSEY #215                                              Contingent
          LENEXA, KS 66215                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0827                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 21
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 Debtor       Texaz Table Restaurant of KS, LLC                                                               Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          CRAWFORD, RACHAEL N                                        Check all that apply.
          5101 W 102ND STREET                                           Contingent
          OVERLAND PARK, KS 66207                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2378                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          CUSICK, KORL                                               Check all that apply.
          3150 Woodview Ridge Dr #106                                   Contingent
          KANSAS CITY, KS 66103                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 1977                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          FEICKE, JOCELYN                                            Check all that apply.
          4741 CENTRAL ST #508                                          Contingent
          KANSAS CITY, MO 64112                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2076                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          FLORES, ARMANDO                                            Check all that apply.
          8525 HOLMES #229                                              Contingent
          KANSAS CITY, MO 64131                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0143                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Texaz Table Restaurant of KS, LLC                                                               Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          FORT, TAYLOR ALEXIS                                        Check all that apply.
          SHAWNEE MISSION EAST HIGH                                     Contingent
          SCHOOL                                                        Unliquidated
          PRAIRIE VILLAGE, KS 66208                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2460                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          GAJAN, JASON                                               Check all that apply.
          2120 Wyandotte St. #7                                         Contingent
          KANSAS CITY, MO 64108                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0164                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          GARCIA, ADRIAN                                             Check all that apply.
          910 PENNSYLVANIA AVE 803                                      Contingent
          KANSAS CITY, MO 64105                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2505                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          HERRERA, JOSE                                              Check all that apply.
          9276 Conser St.                                               Contingent
          Overland Park, KS 66212                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0793                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 5 of 21
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 Debtor       Texaz Table Restaurant of KS, LLC                                                               Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00     $0.00
          HOBBS, ETHAN ANDREW                                        Check all that apply.
          2030 W 84TH TER                                               Contingent
          LEAWOOD, KS 66206                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2195                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00     $0.00
          JOHNSOM, MOLLY                                             Check all that apply.
          12002 W. 82ND TERRACE                                         Contingent
          LENEXA, KS 66215                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2469                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00     $0.00
          JOHNSON, MELINDA RAE                                       Check all that apply.
          14608 E 33RD ST S                                             Contingent
          INDEPENDENCE, MO 64055                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2388                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $9,385.00    $9,385.00
          KANSAS DEPARTMENT OF                                       Check all that apply.
          REVENUE                                                       Contingent
          PO BOX 758572                                                 Unliquidated
          TOPEKA, KS 66675                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          9/2019                                                     FOOD SALES TAX

          Last 4 digits of account number 0F01                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       Texaz Table Restaurant of KS, LLC                                                               Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $3,141.00    $3,141.00
          KANSAS DEPARTMENT OF                                       Check all that apply.
          REVENUE                                                       Contingent
          PO BOX 758572                                                 Unliquidated
          TOPEKA, KS 66675                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          9/2019                                                     LIQUOR SALES TAX

          Last 4 digits of account number 0F01                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00     $0.00
          KASH, COURTNEY                                             Check all that apply.
          1510 N 78TH STREET APT. 8                                     Contingent
          KANSAS CITY, KS 66112                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2515                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00     $0.00
          KELLEY, EMMA                                               Check all that apply.
          8500 CHEROKEE LN                                              Contingent
          LEAWOOD, KS 66206                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2517                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00     $0.00
          KENNISH, HANNAH SUE                                        Check all that apply.
          439 W. 104TH ST APT. A                                        Contingent
          KANSAS CITY, MO 64114                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2508                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Texaz Table Restaurant of KS, LLC                                                               Case number (if known)
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          KIDWELL, NATALIE LINDSAY                                   Check all that apply.
          6311 ASH STREET                                               Contingent
          PRAIRIE VILLAGE, KS 66208                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2458                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          KLUSMAN, ROZANNE                                           Check all that apply.
          P. O. BOX 8872                                                Contingent
          KANSAS CITY, MO 64114                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2263                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          KNIPPER, SPENCER                                           Check all that apply.
          3723 W 74th St                                                Contingent
          Prairie Village, KS 66208                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 1276                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          LOPEZ, JANETH                                              Check all that apply.
          11915 BENNINGTON AVE                                          Contingent
          GRANDVIEW, MO 64030                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 1751                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Texaz Table Restaurant of KS, LLC                                                               Case number (if known)
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          MAASEN, MARK                                               Check all that apply.
          8004 NEWTON ST.                                               Contingent
          OVERLAND PARK, KS 66204                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 1696                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          MANN, LISA DIANE                                           Check all that apply.
          7735 OAK STREET                                               Contingent
          KANSAS CITY, MO 64114                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2437                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          MARCELINO, ALONZO                                          Check all that apply.
          2115 MINNIE ST                                                Contingent
          KANSAS CITY, MO 64124                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 1031                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          MOORE, KAROL MAE                                           Check all that apply.
          9326 PARK STREET                                              Contingent
          LENEXA, KS 66215                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2523                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Texaz Table Restaurant of KS, LLC                                                               Case number (if known)
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          MORA, ADRIANA                                              Check all that apply.
          3124 S 46TH TERRACE                                           Contingent
          KANSAS CITY, KS 66106                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 1018                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          OLVERA, JACQUELINE                                         Check all that apply.
          8103 E 100TH TER                                              Contingent
          KANSAS CITY, MO 64134                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0884                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          PARISH, NICHOLAS                                           Check all that apply.
          7901 JUNIPER DRIVE                                            Contingent
          PRAIRIE VILLAGE, KS 66208                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0433                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          PATEL, KHUSHBU                                             Check all that apply.
          4100 TERRACE ST                                               Contingent
          KANSAS CITY, MO 64111                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2482                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Texaz Table Restaurant of KS, LLC                                                               Case number (if known)
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          PERRY, ISAAC                                               Check all that apply.
          8706 SLEEP HOLLOW RD.                                         Contingent
          KANSAS CITY, MO 64114                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 1280                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          PRITCHARD, GAVIN                                           Check all that apply.
          4926 STATE LINE ROAD                                          Contingent
          WESTWOOD HILLS, KS 66205                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2524                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          RENSTROM, DANIELLE                                         Check all that apply.
          4926 STATE LINE ROAD                                          Contingent
          WESTWOOD HILLS, KS 66205                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2525                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          ROQUEZ, MAXIMINO                                           Check all that apply.
          109W 79TH ST.                                                 Contingent
          KANSAS, MO 64114                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2310                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          ROSANBALM, JOSHUA COREY                                    Check all that apply.
          1516 SW HIGHLAND DR                                           Contingent
          LEES SUMMIT, MO 64081                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2470                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          RUIZ, ISRAEL                                               Check all that apply.
          11605 W 68TH TER                                              Contingent
          SHAWNEE, KS 66203                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0886                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          SAMAYOA, EDGAR                                             Check all that apply.
          4954 ANTIOCH RD                                               Contingent
          OVERLAND PARK, KS 66202                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2503                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          SUCHITE, EDIN                                              Check all that apply.
          2341 TAUROMEE AVE                                             Contingent
          KANSAS CITY, KS 66102                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2271                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          SUCHITE, ELISCO                                            Check all that apply.
          2351 TAUROMEE APT 46                                          Contingent
          KANSAS CITY, KS 66108                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0825                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          SUTTON, ASHLEY NICOLE                                      Check all that apply.
          15203 GRAND SUMMIT BLVD APT                                   Contingent
          203                                                           Unliquidated
          GRANDVIEW, MO 64030                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2281                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          TOWNSEND, ASHLEY N                                         Check all that apply.
          15902 E 20TH ST                                               Contingent
          INDEPENDENCE, MO 64050                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 2283                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $0.00    $0.00
          URBANO, GUSTAVO                                            Check all that apply.
          2506 79TH TERRACE                                             Contingent
          PRAIRIE VILAGE, KS 66208                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/16-10/31/19
          Last 4 digits of account number 0953                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor        Texaz Table Restaurant of KS, LLC                                                              Case number (if known)
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 2.51       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $0.00    $0.00
            VAZQUEZ, ADRIAN                                          Check all that apply.
            7803 ENGLAND DR APT 102                                     Contingent
            OVERLAND PARK, KS 66208                                     Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            10/16-10/31/19
            Last 4 digits of account number 0870                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.52       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $0.00    $0.00
            WOOFTER, JAKE                                            Check all that apply.
            1900 W. 68TH ST                                             Contingent
            SHAWNEE MISSION, KS 66208                                   Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            10/16-10/31/19
            Last 4 digits of account number 2462                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $540.00
           360 Commerical Cleaning                                                     Contingent
           13827 Mackey St                                                             Unliquidated
           Overland Park, KS 66223
                                                                                       Disputed
           Date(s) debt was incurred 43534
                                                                                   Basis for the claim:     Cleaning
           Last 4 digits of account number UNKNOWN
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $626.00
           ABSOLUTE SYSTEMS                                                            Contingent
           16657 E 23rd St                                                             Unliquidated
           Suite 346
                                                                                       Disputed
           Independence, MO 64055
           Date(s) debt was incurred 10/18-8/19
                                                                                   Basis for the claim:     Security monitoring
           Last 4 digits of account number 6632                                    Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $442.00
           ALL STATE FIRE EQUIPMENT                                                    Contingent
           1030 West 23rd St                                                           Unliquidated
           Suite G
                                                                                       Disputed
           Independence, MO 64055
           Date(s) debt was incurred 42859
                                                                                   Basis for the claim:     R&M
           Last 4 digits of account number UNKNOWN                                 Is the claim subject to offset?     No       Yes




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 Debtor       Texaz Table Restaurant of KS, LLC                                                       Case number (if known)
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 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $975.25
          AMBROSI                                                               Contingent
          3023 Main Street                                                      Unliquidated
          Kansas City, MO 64108
                                                                                Disputed
          Date(s) debt was incurred 5/18-5/19
                                                                             Basis for the claim:    Knife sharpening
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $790.80
          Avid                                                                  Contingent
          500 Southwest Blvd
                                                                                Unliquidated
          Kansas City, MO 64108
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telephone/Internet
          Last 4 digits of account number       1383
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $177.90
          BAGEL WORKS                                                           Contingent
          1523 S. 45th Street                                                   Unliquidated
          Kansas City, KS 66106
                                                                                Disputed
          Date(s) debt was incurred 43604
                                                                             Basis for the claim:    Inventory
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $762,478.00
          Bread & Butter Concepts                                               Contingent
          1729 Cherry Street                                                    Unliquidated
          Kansas City, MO 64108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Inter Company
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $822.95
          CINTAS                                                                Contingent
          1715 LINN ST                                                          Unliquidated
          KANSAS CITY, MO 64116
                                                                                Disputed
          Date(s) debt was incurred 6/19-10/19
                                                                             Basis for the claim:    First Aid Supplies
          Last 4 digits of account number 1152
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,080.31
          CSI                                                                   Contingent
          18330 Edison Ave                                                      Unliquidated
          Chesterfield, MO 63005
                                                                                Disputed
          Date(s) debt was incurred 2/19-7/19
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number 0999
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $237.00
          DAR PRO                                                               Contingent
          685 ADAMS ST                                                          Unliquidated
          Kansas City, KS 66105
                                                                                Disputed
          Date(s) debt was incurred 43375
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number 9727
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Texaz Table Restaurant of KS, LLC                                                       Case number (if known)
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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37.25
          ECOLAB FOOD SAFETY                                                    Contingent
          24198 Network Place                                                   Unliquidated
          Chicago, IL 60673
                                                                                Disputed
          Date(s) debt was incurred 42801
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,012.00
          ECOLAB PEST                                                           Contingent
          26252 Network Pl                                                      Unliquidated
          Chicago, IL 60673-1262
                                                                                Disputed
          Date(s) debt was incurred 43635
                                                                             Basis for the claim:    Pest Control
          Last 4 digits of account number 0001
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,397.08
          ESPRESSO TECH                                                         Contingent
          11614 W 90TH STREET                                                   Unliquidated
          OVERLAND PARK, KS 66214
                                                                                Disputed
          Date(s) debt was incurred 10/17-11/18
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $887.64
          Evergy                                                                Contingent
          4400 E. Front St
                                                                                Unliquidated
          Kansas City, MO 64120
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Electricity
          Last 4 digits of account number       8492
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $927.15
          Evergy                                                                Contingent
          4400 E. Front St
                                                                                Unliquidated
          Kansas City, MO 64120
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Electricity
          Last 4 digits of account number       0952
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,124.84
          Evergy                                                                Contingent
          4400 E. Front St
                                                                                Unliquidated
          Kansas City, MO 64120
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Electricity
          Last 4 digits of account number       4262
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,313.31
          EXCEL LINENS                                                          Contingent
          501 Funston St                                                        Unliquidated
          Kansas City, MO 66115
                                                                                Disputed
          Date(s) debt was incurred 2/19-9/19
                                                                             Basis for the claim:    Linen supply
          Last 4 digits of account number 2691
                                                                             Is the claim subject to offset?     No       Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,839.79
          FARM TO MARKET                                                        Contingent
          100 East 20th St                                                      Unliquidated
          Kansas City, MO 64108
                                                                                Disputed
          Date(s) debt was incurred 6/19-10/19
                                                                             Basis for the claim:
          Last 4 digits of account number UT
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $386.86
          GASKET GUY KC                                                         Contingent
          10645 Widmer                                                          Unliquidated
          Lenexa, KS 66215
                                                                                Disputed
          Date(s) debt was incurred      43696
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number    UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $938.00
          HASELWOOD LANDSCAPES LLC                                              Contingent
          PO BOX 2191                                                           Unliquidated
          OLATHE, KS 66051
                                                                                Disputed
          Date(s) debt was incurred 4/19-5/19
                                                                             Basis for the claim:    Landscaping
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $423.79
          HOCKENBERGS                                                           Contingent
          14603 West 112th Street                                               Unliquidated
          Lenexa, KS 66215-4096
                                                                                Disputed
          Date(s) debt was incurred 43740
                                                                             Basis for the claim:    FOH/BOH Supplies
          Last 4 digits of account number 8153
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,207.11
          IBS MIDWEST                                                           Contingent
          3913 S LYNN CT                                                        Unliquidated
          INDEPENDENCE, MO 64055
                                                                                Disputed
          Date(s) debt was incurred 3/19-8/19
                                                                             Basis for the claim:    Tech Support
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          JCW                                                                   Contingent
          PO Box 219948
                                                                                Unliquidated
          Kansas City, MO 64121
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Water /Sewer
          Last 4 digits of account number       2852
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          JCW                                                                   Contingent
          PO Box 219948
                                                                                Unliquidated
          Kansas City, MO 64121
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Water /Sewer
          Last 4 digits of account number       2840
                                                                             Is the claim subject to offset?     No       Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $197.96
          JIM'S LOCK & SAFE                                                     Contingent
          2005 NORTH 77TH STREET                                                Unliquidated
          KANSAS CITY, KS 66109
                                                                                Disputed
          Date(s) debt was incurred 43747
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,403.96
          KALDI'S COFFEE                                                        Contingent
          3983 Gratiot                                                          Unliquidated
          ST. LOUIS, MO 63110
                                                                                Disputed
          Date(s) debt was incurred 7/19-9/19
                                                                             Basis for the claim:    Inventory
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kansas Dept of Revenue                                                Contingent
          Civl Tax Enforcement                                                  Unliquidated
          PO Box 12005                                                          Disputed
          Topeka, KS 66601-3005
                                                                             Basis for the claim:    Notice Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $749.61
          Kansas Gas                                                            Contingent
          1421 N 3rd St
                                                                                Unliquidated
          Kansas City, MO 64120
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gas
          Last 4 digits of account number       8291
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,514.00
          LIBERTY FRUIT                                                         Contingent
          1247 Argentine Boulevard                                              Unliquidated
          Kansas City, KS 66105-1508
                                                                                Disputed
          Date(s) debt was incurred 9/19-10/19
                                                                             Basis for the claim:
          Last 4 digits of account number 5387
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $243.49
          M&H GAS                                                               Contingent
          4230 Washington Avenue                                                Unliquidated
          Independence, MO 64055
                                                                                Disputed
          Date(s) debt was incurred 7/19-9/19
                                                                             Basis for the claim:    Propane
          Last 4 digits of account number OT10
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $356.38
          New York Times                                                        Contingent
          620 EIGHT AVENUE                                                      Unliquidated
          NEW YORK, NY 10018
                                                                                Disputed
          Date(s) debt was incurred 2/18-4/18
                                                                             Basis for the claim:    Subscription
          Last 4 digits of account number 7580
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 18 of 21
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 Debtor       Texaz Table Restaurant of KS, LLC                                                       Case number (if known)
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,364.73
          P1 GROUP INC.                                                         Contingent
          13605 W 96th Terrace                                                  Unliquidated
          LENEXA, KS 66215
                                                                                Disputed
          Date(s) debt was incurred 2/18-4/18
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $514,543.00
          S. Glynn Roberts                                                      Contingent
          1804 Wroxton                                                          Unliquidated
          Houston, TX 77005                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Member Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,632.69
          SEATTLE FISH CO.                                                      Contingent
          4300 N. Mattox Rd                                                     Unliquidated
          Riverside, MO 64150
                                                                                Disputed
          Date(s) debt was incurred  5/19-10/19
                                                                             Basis for the claim:    Inventory
          Last 4 digits of account number 7946
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $413.89
          SERVICE CALL LLC                                                      Contingent
          1118 N.W. South Shore Dr.                                             Unliquidated
          Lake Waukomis, MO 64151
                                                                                Disputed
          Date(s) debt was incurred 42650
                                                                             Basis for the claim:    R&M
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $101.80
          SLICE & SPICE                                                         Contingent
          19095 W 199TH ST                                                      Unliquidated
          SPRINGHILL, KS 66083
                                                                                Disputed
          Date(s) debt was incurred 43741
                                                                             Basis for the claim:    Inventory
          Last 4 digits of account number UNKNOWN
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $124.99
          Spectrum                                                              Contingent
          550 Westport Road
                                                                                Unliquidated
          Kansas City, MO 64111
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telephone/Internet
          Last 4 digits of account number       2701
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,576.97
          SYSCO KANSAS CITY INC                                                 Contingent
          1915 KANSAS CITY ROAD                                                 Unliquidated
          PO BOX 820
                                                                                Disputed
          OLATHE, KS 66061-0820
          Date(s) debt was incurred 4/19-9/19
                                                                             Basis for the claim:    Inventory
          Last 4 digits of account number 5822                               Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 19 of 21
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 Debtor       Texaz Table Restaurant of KS, LLC                                                       Case number (if known)
              Name

 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.      $52,457.00
           Texaz Plaza Restaurant, LLC                                          Contingent
           600 Ward Parkway                                                     Unliquidated
           Kansas City, MO 64112                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.      $41,945.00
           Texaz South Plaza, LLC                                               Contingent
           4800 Main Street                                                     Unliquidated
           Kansas City, MO 64112                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.      $26,663.56
           US FOODS                                                             Contingent
           16805 COLLEGE BLVD
                                                                                Unliquidated
           LENEXA, MO 66219
                                                                                Disputed
           Date(s) debt was incurred 43757
                                                                             Basis for the claim:    Inventory
           Last 4 digits of account number 4956
                                                                             Is the claim subject to offset?     No       Yes

 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        Unknown
           US FOODS                                                             Contingent
           16805 College Blvd
                                                                                Unliquidated
           Lenexa, KS 66219
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Goods, Inventory, Equipment, and Fixtures
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $211.87
           Water One                                                            Contingent
           10747 Renner Rd
                                                                                Unliquidated
           Lenexa, KS 66219
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Water /Sewer
           Last 4 digits of account number      2008
                                                                             Is the claim subject to offset?     No       Yes

 3.44      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $122.79
           Water One                                                            Contingent
           10747 Renner Rd
                                                                                Unliquidated
           Lenexa, KS 66219
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Water /Sewer
           Last 4 digits of account number      2011
                                                                             Is the claim subject to offset?     No       Yes

 3.45      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $179.09
           WATTS UP                                                             Contingent
           9320 Johnson Drive                                                   Unliquidated
           Shawnee, KS 66203
                                                                                Disputed
           Date(s) debt was incurred     1/19-2/19
                                                                             Basis for the claim:    FOH/BOH Supplies
           Last 4 digits of account number    UT
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 20 of 21
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 Debtor       Texaz Table Restaurant of KS, LLC                                                    Case number (if known)
              Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.       $                      12,526.00
 5b. Total claims from Part 2                                                                        5b.   +   $                   1,475,467.81

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $                      1,487,993.81




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 21 of 21
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 Fill in this information to identify the case:

 Debtor name         Texaz Table Restaurant of KS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Equipment Rental
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    Ecolab Dish
             List the contract number of any                                        24198 Network Place
                   government contract                                              Chicago, IL 60673


 2.2.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          GRI Corinth North LLC
                                                                                    4350 East-West Highway
             List the contract number of any                                        Suite 400
                   government contract                                              Bethesda, MD 20814


 2.3.        State what the contract or                   Premises Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                21 months                 GRI Corinth Square North, LLC
                                                                                    success in interest to CSN
             List the contract number of any                                        PO Box 664001
                   government contract                                              Dallas, TX 75266


 2.4.        State what the contract or                   Equipment Rental
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    Ice Masters
             List the contract number of any                                        6218 Melrose
                   government contract                                              Shawnee, KS 66203




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Texaz Table Restaurant of KS, LLC                                                     Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   Payroll Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                        PAYCOM PAYROLL, LLC DBA PAYCOM
             List the contract number of any                                            7501 W MEMORIAL RD
                   government contract                                                  Oklahoma City, OK 73142




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Texaz Table Restaurant of KS, LLC

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 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Bread & Butter                    1729 Cherry Street                                 Core Bank                         D   2.1
             Concepts                          Kansas City, MO 64108                                                                E/F
                                                                                                                                    G




    2.2      Texaz                             1720 Cherry Street                                 Core Bank                         D   2.1
             Crossroads, LLC                   Kansas City, MO 64108                                                                E/F
                                                                                                                                    G




    2.3      Texaz Plaza                       600 Ward Parkway                                   Core Bank                         D   2.1
             Restaurant, LLC                   Kansas City, MO 64112                                                                E/F
                                                                                                                                    G




    2.4      Texaz South                       4800 Main Street                                   Core Bank                         D   2.1
             Plaza, LLC                        Kansas City, MO 64112                                                                E/F
                                                                                                                                    G




    2.5      Alan Gaylin                       1720 Cherry St                                     CSN Retail Partners               D
                                               Kansas City, MO 64108                              LLC                               E/F
                                                                                                                                    G   2.3




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor       Texaz Table Restaurant of KS, LLC                                              Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Jean Roberts                      3760 Carlon                                        CSN Retail Partners       D
                                               Houston, TX 77005                                  LLC                       E/F
                                                                                                                            G   2.3




    2.7      S. Glynn Roberts                                                                     CSN Retail Partners       D
                                                                                                  LLC                       E/F
                                                                                                                            G   2.3




Official Form 206H                                                            Schedule H: Your Codebtors                           Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name            Texaz Table Restaurant of KS, LLC

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 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           137,630.39

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           137,630.39


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,452,357.18


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            12,526.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,475,467.81


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,940,350.99




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Texaz Table Restaurant of KS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 9, 2019                        X /s/ Alan L. Gaylin
                                                                       Signature of individual signing on behalf of debtor

                                                                       Alan L. Gaylin
                                                                       Printed name

                                                                       CEO/Founder
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         Texaz Table Restaurant of KS, LLC

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 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,510,106.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $2,129,117.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $2,449,137.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Texaz Table Restaurant of KS, LLC                                                         Case number (if known)



       Creditor's Name and Address                                          Dates                Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attached                                                                                $240,420.53                Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                               Value

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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               Recipient's name and address                      Description of the gifts or contributions                  Dates given                        Value

       9.1.    Harvesters Raffle
                                                                                                                            3/13/2019                        $50.00

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To


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 Debtor        Texaz Table Restaurant of KS, LLC                                                        Case number (if known)



 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services        If debtor provides meals
                                                                 the debtor provides                                                 and housing, number of
                                                                                                                                     patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was           Last balance
               Address                                           account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     MoBank                                          XXXX-5437                   Checking                                               Unknown
                 A Division of BOKF, NA                                                      Savings
                 PO BOX 26430
                                                                                             Money Market
                 Kansas City, MO 64196
                                                                                             Brokerage
                                                                                             Other

       18.2.     MoBank                                          XXXX-5445                   Checking                                               Unknown
                 A Division of BOKF, NA                                                      Savings
                 PO BOX 26430
                                                                                             Money Market
                 Kansas City, MO 64196
                                                                                             Brokerage
                                                                                             Other

       18.3.     MoBank                                          XXXX-5453                   Checking                                               Unknown
                 A Division of BOKF, NA                                                      Savings
                 PO BOX 26430
                                                                                             Money Market
                 Kansas City, MO 64196
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

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    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

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 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       CBIZ
                    700 W 47th Street
                    #1100
                    Kansas City, MO 64112
       26a.2.       Tiffany Wolfe
                    12196 S. Brockway St
                    Olathe, KS 66061
       26a.3.       Jeff Petersen
                    6000 W 88th Ter
                    Overland Park, KS 66207
       26a.4.       Jeff Udell
                    8401 W 98th St.
                    Overland Park, KS 66212

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Tiffany Wolfe
                    12196 S. Brockway St
                    Olathe, KS 66061
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       CBIZ
                    700 W 47th Street
                    #1100
                    Kansas City, MO 64112
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.3.       Jeff Petersen
                    6000 W 88th Ter
                    Overland Park, KS 66207
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.4.       Jeff Udell
                    8401 W 98th St.
                    Overland Park, KS 66212


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 Debtor      Texaz Table Restaurant of KS, LLC                                                          Case number (if known)



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jeff Udell
                    8401 W 98th St.
                    Overland Park, KS 66212
       26c.2.       Tiffany Wolfe
                    12196 S. Brockway St
                    Olathe, KS 66061
       26c.3.       Alan Gaylin
                    2909 Tomahawk Road
                    Prairie Village, KS 66208
       26c.4.       Restaurant 365
                    500 Technology Dr.,
                    Ste 200
                    Irvine, CA 92618

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Core Bank
                    12100 W Center Rd
                    Omaha, NE 68144
       26d.2.       Louie's Wine Dive
                    4434 W. 90th Terr
                    Overland Park, KS 66207
       26d.3.       Taubman
                    PO Box 695001
                    Detroit, MI 48267
       26d.4.       MREM BOT Property
                    PO Box 310687
                    Des Moines, IA 50331

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Alan Gaylin                                    2909 Tomahawk Road                                  CEO                                   49
                                                      Prairie Village, KS 66208




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 Debtor      Texaz Table Restaurant of KS, LLC                                                          Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jean Roberts                                   3760 Carlon                                                                               25.5
                                                      Houston, TX 77005

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       S. Glynn Roberts                               1804 Wroxton                                                                              25.5
                                                      Houston, TX 77005



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         November 9, 2019

 /s/ Alan L. Gaylin                                                     Alan L. Gaylin
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO/Founder

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                                   TEXAZ TABLE RESTAURANT OF KC, LLC - URBAN TABLE


List each creditor to whom you paid a total of $6,425 or more within the last 90 days
7/14/19-10/14/19

Location                                   Urban Table

Sum of Amount                              Column Labels
Row Labels                                 Suppliers or Vendors    Secured Debt Other      Services   Grand Total
  ARROWHEAD MEATS                                         7,320.77                                        7,320.77
     Jul                                                    910.05                                          910.05
     Aug                                                  2,448.62                                        2,448.62
     Sep                                                  1,457.74                                        1,457.74
     Oct                                                  2,504.36                                        2,504.36
  GRI CORINTH NORTH LLC                                                24,500.00                         24,500.00
     Jul                                                                5,000.00                          5,000.00
     Aug                                                               14,500.00                         14,500.00
     Sep                                                                2,500.00                          2,500.00
     Oct                                                                2,500.00                          2,500.00
  HOCKENBERGS                                             6,989.41                                        6,989.41
     Jul                                                  1,797.97                                        1,797.97
     Aug                                                  2,938.48                                        2,938.48
     Sep                                                  1,566.95                                        1,566.95
     Oct                                                    686.01                                          686.01
  KANSAS DEPARTMENT OF REVENUE                                                   10,651.09               10,651.09
     Aug                                                                         10,651.09               10,651.09
  LIBERTY FRUIT                                          21,938.15                                       21,938.15
     Jul                                                  3,257.65                                        3,257.65
     Aug                                                  8,170.00                                        8,170.00
     Sep                                                  6,919.50                                        6,919.50
     Oct                                                  3,591.00                                        3,591.00
  PAYCOM                                                                         44,681.22 1,702.98      46,384.20
     Jul                                                                          9,614.43     407.79    10,022.22
     Aug                                                                         17,985.55     919.14    18,904.69
     Sep                                                                         17,081.24     376.05    17,457.29
  RIMANN WHOLESALE                                      15,681.00                                        15,681.00
     Jul                                                  5,404.07                                        5,404.07
     Aug                                                 10,276.93                                       10,276.93
  SEATTLE FISH CO.                                      10,650.89                                        10,650.89
     Jul                                                  1,772.83                                        1,772.83
     Aug                                                  4,821.62                                        4,821.62
     Sep                                                  4,056.44                                        4,056.44
  TSYS                                                                                      7,197.47      7,197.47
     Jul                                                                                        62.66        62.66
     Aug                                                                                     3,662.70     3,662.70
     Sep                                                                                    3,472.11      3,472.11
  US FOODS                                              89,107.55                                        89,107.55
     Jul                                                15,772.82                                        15,772.82
     Aug                                                 33,980.62                                       33,980.62
     Sep                                                 28,605.48                                       28,605.48
     Oct                                                 10,748.63                                       10,748.63
Grand Total                                            151,687.77      24,500.00 55,332.31 8,900.45 240,420.53




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        District of Kansas
 In re       Texaz Table Restaurant of KS, LLC                                                                Case No.
                                                                               Debtor(s)                      Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 50,000.00
             Prior to the filing of this statement I have received                                        $                 50,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 9, 2019                                                          /s/ Sharon L. Stolte
     Date                                                                      Sharon L. Stolte #14302
                                                                               Signature of Attorney
                                                                               Sandberg Phoenix & von Gontard PC
                                                                               4600 Madison Ave., Suite 1000
                                                                               Kansas City, MO 64112
                                                                               816-627-5543 Fax: 816-627-5532
                                                                               sstolte@sandbergphoenix.com
                                                                               Name of law firm




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           360 Commerical Cleaning
           13827 Mackey St
           Overland Park KS 66223


           ABSOLUTE SYSTEMS
           16657 E 23rd St
           Suite 346
           Independence MO 64055


           AKE, ALFONSO
           4705 GLADSTONE BLVD
           KANSAS CITY MO 64123


           Alan Gaylin
           1720 Cherry St
           Kansas City MO 64108


           ALL STATE FIRE EQUIPMENT
           1030 West 23rd St
           Suite G
           Independence MO 64055


           AMBROSI
           3023 Main Street
           Kansas City MO 64108


           Avid
           500 Southwest Blvd
           Kansas City MO 64108


           BAGEL WORKS
           1523 S. 45th Street
           Kansas City KS 66106


           BAUER, BRADLEY
           15508 WHITE DRIVE
           BELTON MO 64012


           BENITEZ, GUADALUPE
           7 Pasadena Dr
           Olathe KS 66061


           BERNING, MEGAN AMANDA
           9231 OUTLOOK DRIVE
           OVERLAND PARK KS 66207

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       BIRNBAUM, SIDELLE
       2708 HOLMES ST APT 2N
       KANSAS CITY MO 64109


       BONILLA, RUDY
       5409 ANTIOCH RD. APT 5
       KANSAS CITY KS 66202


       Bread & Butter Concepts
       1729 Cherry Street
       Kansas City MO 64108


       CHAVEZ, JUAN
       2207 ELIZABETH AVE
       KANSAS CITY KS 66102


       CHIVERTON, JOHN PAUL
       3007 WEST 82ND TERRACE
       LEAWOOD KS 66206


       CINTAS
       1715 LINN ST
       KANSAS CITY MO 64116


       COATES, HEIDI
       6443 W. 51ST TERRACE
       MISSION KS 66202


       Core Bank
       12100 W Center Rd
       Omaha NE 68144


       CORTEZ, JULIAN
       9540 HALSEY #215
       LENEXA KS 66215


       CRAWFORD, RACHAEL N
       5101 W 102ND STREET
       OVERLAND PARK KS 66207


       CSI
       18330 Edison Ave
       Chesterfield MO 63005



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       CUSICK, KORL
       3150 Woodview Ridge Dr #106
       KANSAS CITY KS 66103


       DAR PRO
       685 ADAMS ST
       Kansas City KS 66105


       Ecolab Dish
       24198 Network Place
       Chicago IL 60673


       ECOLAB FOOD SAFETY
       24198 Network Place
       Chicago IL 60673


       ECOLAB PEST
       26252 Network Pl
       Chicago IL 60673-1262


       ESPRESSO TECH
       11614 W 90TH STREET
       OVERLAND PARK KS 66214


       Evergy
       4400 E. Front St
       Kansas City MO 64120


       EXCEL LINENS
       501 Funston St
       Kansas City MO 66115


       FARM TO MARKET
       100 East 20th St
       Kansas City MO 64108


       FEICKE, JOCELYN
       4741 CENTRAL ST #508
       KANSAS CITY MO 64112


       FLORES, ARMANDO
       8525 HOLMES #229
       KANSAS CITY MO 64131



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       FORT, TAYLOR ALEXIS
       SHAWNEE MISSION EAST HIGH SCHOOL
       PRAIRIE VILLAGE KS 66208


       GAJAN, JASON
       2120 Wyandotte St. #7
       KANSAS CITY MO 64108


       GARCIA, ADRIAN
       910 PENNSYLVANIA AVE 803
       KANSAS CITY MO 64105


       GASKET GUY KC
       10645 Widmer
       Lenexa KS 66215


       GRI Corinth North LLC
       4350 East-West Highway
       Suite 400
       Bethesda MD 20814


       GRI Corinth Square North, LLC
       success in interest to CSN
       PO Box 664001
       Dallas TX 75266


       HASELWOOD LANDSCAPES LLC
       PO BOX 2191
       OLATHE KS 66051


       HERRERA, JOSE
       9276 Conser St.
       Overland Park KS 66212


       HOBBS, ETHAN ANDREW
       2030 W 84TH TER
       LEAWOOD KS 66206


       HOCKENBERGS
       14603 West 112th Street
       Lenexa KS 66215-4096


       IBS MIDWEST
       3913 S LYNN CT
       INDEPENDENCE MO 64055

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       Ice Masters
       6218 Melrose
       Shawnee KS 66203


       Internal Rev Service
       PO Box 7346
       Philadelphia PA 19101-7346


       JCW
       PO Box 219948
       Kansas City MO 64121


       Jean Roberts
       3760 Carlon
       Houston TX 77005


       JIM'S LOCK & SAFE
       2005 NORTH 77TH STREET
       KANSAS CITY KS 66109


       JOHNSOM, MOLLY
       12002 W. 82ND TERRACE
       LENEXA KS 66215


       JOHNSON, MELINDA RAE
       14608 E 33RD ST S
       INDEPENDENCE MO 64055


       KALDI'S COFFEE
       3983 Gratiot
       ST. LOUIS MO 63110


       KANSAS DEPARTMENT OF REVENUE
       PO BOX 758572
       TOPEKA KS 66675


       Kansas Dept of Health & Enviro
       Office of Legal Services
       1000 SW Jackson Suite 560
       Topeka KS 66612-1368


       Kansas Dept of Labor
       Attn Legal Service
       401 SW Topeka Blvd
       Topeka KS 66603-3182

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       Kansas Dept of Revenue
       Civl Tax Enforcement
       PO Box 12005
       Topeka KS 66601-3005


       Kansas Gas
       1421 N 3rd St
       Kansas City MO 64120


       KASH, COURTNEY
       1510 N 78TH STREET APT. 8
       KANSAS CITY KS 66112


       KELLEY, EMMA
       8500 CHEROKEE LN
       LEAWOOD KS 66206


       KENNISH, HANNAH SUE
       439 W. 104TH ST APT. A
       KANSAS CITY MO 64114


       KIDWELL, NATALIE LINDSAY
       6311 ASH STREET
       PRAIRIE VILLAGE KS 66208


       KLUSMAN, ROZANNE
       P. O. BOX 8872
       KANSAS CITY MO 64114


       KNIPPER, SPENCER
       3723 W 74th St
       Prairie Village KS 66208


       LIBERTY FRUIT
       1247 Argentine Boulevard
       Kansas City KS 66105-1508


       LOPEZ, JANETH
       11915 BENNINGTON AVE
       GRANDVIEW MO 64030


       M&H GAS
       4230 Washington Avenue
       Independence MO 64055


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       MAASEN, MARK
       8004 NEWTON ST.
       OVERLAND PARK KS 66204


       MANN, LISA DIANE
       7735 OAK STREET
       KANSAS CITY MO 64114


       MARCELINO, ALONZO
       2115 MINNIE ST
       KANSAS CITY MO 64124


       MOORE, KAROL MAE
       9326 PARK STREET
       LENEXA KS 66215


       MORA, ADRIANA
       3124 S 46TH TERRACE
       KANSAS CITY KS 66106


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       NEW YORK NY 10018


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       OLVERA, JACQUELINE
       8103 E 100TH TER
       KANSAS CITY MO 64134


       P1 GROUP INC.
       13605 W 96th Terrace
       LENEXA KS 66215


       PARISH, NICHOLAS
       7901 JUNIPER DRIVE
       PRAIRIE VILLAGE KS 66208


       PATEL, KHUSHBU
       4100 TERRACE ST
       KANSAS CITY MO 64111

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       PAYCOM PAYROLL, LLC DBA PAYCOM
       7501 W MEMORIAL RD
       Oklahoma City OK 73142


       PERRY, ISAAC
       8706 SLEEP HOLLOW RD.
       KANSAS CITY MO 64114


       PRITCHARD, GAVIN
       4926 STATE LINE ROAD
       WESTWOOD HILLS KS 66205


       RENSTROM, DANIELLE
       4926 STATE LINE ROAD
       WESTWOOD HILLS KS 66205


       ROQUEZ, MAXIMINO
       109W 79TH ST.
       KANSAS MO 64114


       ROSANBALM, JOSHUA COREY
       1516 SW HIGHLAND DR
       LEES SUMMIT MO 64081


       RUIZ, ISRAEL
       11605 W 68TH TER
       SHAWNEE KS 66203


       S. Glynn Roberts
       1804 Wroxton
       Houston TX 77005


       SAMAYOA, EDGAR
       4954 ANTIOCH RD
       OVERLAND PARK KS 66202


       SEATTLE FISH CO.
       4300 N. Mattox Rd
       Riverside MO 64150


       SERVICE CALL LLC
       1118 N.W. South Shore Dr.
       Lake Waukomis MO 64151



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       SLICE & SPICE
       19095 W 199TH ST
       SPRINGHILL KS 66083


       Small Business Administration
       220 West Douglas Ave
       Ste. 450
       Wichita KS 67202


       Spectrum
       550 Westport Road
       Kansas City MO 64111


       SUCHITE, EDIN
       2341 TAUROMEE AVE
       KANSAS CITY KS 66102


       SUCHITE, ELISCO
       2351 TAUROMEE APT 46
       KANSAS CITY KS 66108


       SUTTON, ASHLEY NICOLE
       15203 GRAND SUMMIT BLVD APT 203
       GRANDVIEW MO 64030


       SYSCO KANSAS CITY INC
       1915 KANSAS CITY ROAD
       PO BOX 820
       OLATHE KS 66061-0820


       Texaz Crossroads, LLC
       1720 Cherry Street
       Kansas City MO 64108


       Texaz Plaza Restaurant, LLC
       600 Ward Parkway
       Kansas City MO 64112


       Texaz South Plaza, LLC
       4800 Main Street
       Kansas City MO 64112


       TOWNSEND, ASHLEY N
       15902 E 20TH ST
       INDEPENDENCE MO 64050

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       URBANO, GUSTAVO
       2506 79TH TERRACE
       PRAIRIE VILAGE KS 66208


       US Dept of Health & Human Serv
       Office of the General Counsel
       601 East 12th Street Rm N1800
       Kansas City MO 64106


       US FOODS
       16805 College Blvd
       Lenexa KS 66219


       VAZQUEZ, ADRIAN
       7803 ENGLAND DR APT 102
       OVERLAND PARK KS 66208


       Water One
       10747 Renner Rd
       Lenexa KS 66219


       WATTS UP
       9320 Johnson Drive
       Shawnee KS 66203


       WOOFTER, JAKE
       1900 W. 68TH ST
       SHAWNEE MISSION KS 66208




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                                                                        District of Kansas
 In re      Texaz Table Restaurant of KS, LLC                                                          Case No.
                                                                                 Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO/Founder of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       November 9, 2019                                         /s/ Alan L. Gaylin
                                                                      Alan L. Gaylin/CEO/Founder
                                                                      Signer/Title




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                                                                           District of Kansas
 In re      Texaz Table Restaurant of KS, LLC                                                                         Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO/Founder of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 9, 2019                                                       Signature /s/ Alan L. Gaylin
                                                                                            Alan L. Gaylin

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                         District of Kansas
 In re      Texaz Table Restaurant of KS, LLC                                                            Case No.
                                                                                 Debtor(s)               Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Texaz Table Restaurant of KS, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 9, 2019                                                    /s/ Sharon L. Stolte
 Date                                                                Sharon L. Stolte #14302
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Texaz Table Restaurant of KS, LLC
                                                                     Sandberg Phoenix & von Gontard PC
                                                                     4600 Madison Ave., Suite 1000
                                                                     Kansas City, MO 64112
                                                                     816-627-5543 Fax:816-627-5532
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